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 6
     Attorneys for Plaintiff
 7   MICHAEL RHAMBO
 8
                                UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
11   MICHAEL RHAMBO,                                   Case No.: 2:23-cv-07610-JFW (PDx)
12
                  Plaintiff,                           NOTICE OF VOLUNTARY
13                                                     DISMISSAL OF ENTIRE ACTION
           vs.                                         WITHOUT PREJUDICE
14
15   I & R COMPANY, LLC; and DOES 1 to
     10,
16
                  Defendants.
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18
19         PLEASE TAKE NOTICE that MICHAEL RHAMBO (“Plaintiff”) pursuant to
20   Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
21   action without prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22   provides in relevant part:
23
           (a) Voluntary Dismissal.
24
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                         and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
27
28


                                                   1
        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
     Case 2:23-cv-07610-JFW-PD Document 16 Filed 05/16/24 Page 2 of 2 Page ID #:61




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: May 16, 2024                   SO. CAL. EQUAL ACCESS GROUP
 8
 9
10                                         By:       /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
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                                                 Attorneys for Plaintiff
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        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
